Case 2:04-cv-02652-SHI\/|-dkv Document 3 Filed 05/13/05 Page 1 of 2 Page|D 3

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

BRIAN RUSSELL TUCKER,

Plaintiff,

VS. NO. 04-2652-MaV

PERKINS HOTEL PARTNERS, L.P., ET AL.,

Defendants

 

ORDER OF DISMISSAL

 

Plaintiff filed the complaint in this matter on August 23, 2004 and summonses were
issued on that date. On February 22, 2005, the court issued an Order to Show Cause why this
matter should not be dismissed for failure to prosecute Plaintiff has failed to respond to the
show cause order. The court therefore finds that this matter should be and is DISMISSED

Without prejudice

it is 30 0RDERED this lB*Lday ofMay, 2005.

¢M</M~`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Ttiis document entered on the docket sheet In comptz'

l ance
with Rule 58 and/or 79(3) FFtCP on 5` \ 3 ` fig 3

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-02652 Was distributed by faX, mail, or direct printing on
May lS, 2005 to the parties listed.

 

Joseph H. Crabtree
CRABTREE LAW FIRM
1922 Exeter Rd.
Gerrnantown7 TN 3 813 8

Honorable Sarnuel Mays
US DISTRICT COURT

